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U.S. BANKRU
UNITED STATES BANKRUPTCY COURT |

DISTRICT OF NEW JERSEY a
023 ocCT 17 P 2 10
In re: Case No.: 23-13359 (VFP)
BED BATH & BEYOND INC., et al., Chapter 11 | DER DRA
Debtors, KERN COUNTY TREASURER-TAX

COLLECTOR’S RESPONSE TO
DEBTOR’S SECOND OMNIBUS
OBJECTION TO CERTAIN TAX
CLAIMS AND OPPOSITION TO
MOTION TO DETERMINE TAX
LIABILITY AND STAY
PROCEEDINGS

Date: October 24, 2023

Time: 10:00 a.m. (ET)

Judge: Honorable Vincent F. Papalia
Courtroom: 3B

Respondent Creditor, County of Kern Treasurer-Tax Collector (““KTTC”), hereby
responds to the Notice of Debtors’ (I) Second Omnibus Objection to Certain Tax Claims
and (II) Motion to Determine Tax Liability and Stay Proceedings.

I. INTRODUCTION

KTTC has consulted with the several named California counties and joins in their

anticipated opposition(s). Out of respect for judicial economy and the small amount in
controversy, KTTC requests that its interests be treated in the same manner as the other
similarly situated Respondents.

Il. STATEMENT OF FACTS

1. KTTC timely filed its Original Claim #946 on 05/12/23.

2. KTTC timely filed its Amended Claim #15203 on 07/27/23.

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I. DISCUSSION

The Debtors request a determination by the Court concerning their property tax

liabilities respecting various taxing authorities, including KTTC, pursuant to Section
505(a) of the Bankruptcy Code. The Debtors contend, without evidence, that the
assessment values of their properties and tax liabilities are excessive and inaccurate.
However, Debtors appear to rely on their post lien date sales to value their property rather
than an accepted valuation methodology under California Law.

Section 505 of the Bankruptcy Code is discretionary, and KTTC asks that the court
abstain from entertaining Debtors’ motion. Property tax assessment in California is
complex, and a New Jersey Court would be required to apply substantive California law
on issues that are intended to be decided by a local Assessment Appeals Board (““AAB”)
under the California Constitution, placing the uniformity of assessment at great risk. In
addition, the burden to the court would be tremendous given the number of properties at
issue and the requirement under California law that taxes be based on the situs of the
property. Finally, there is a substantial burden to the County, as all its Appraiser staff
and their legal advisor, the Office of County Counsel, are located exclusively in
California.

The Debtors Motion does not comport with the purpose and objectives established
under Section 505(a) of the Bankruptcy Code, and Debtors’ have not overcome the
presumptive validity of KTTC’s claim. KTTC respectfully requests the Court deny this
Motion in its entirety. Should the Court decline to abstain from hearing this matter, the
County hereby objects to the Debtors’ introduction of any evidence at the hearing on the
Motion, including, without limitation, the “appraisal”, and other evidence which could

not have been considered pursuant to applicable nonbankruptcy law.

ted: October 13, 2023

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Janeth Pardo
Kern County Treasurer and Tax Collector

23-13359 (VFP)

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